                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )    CASE NO. 3:15-cr-00056-4
                                                   )    JUDGE CRENSHAW
 YOUSSEF AZIZ ABDELMALAK                           )
                                                   )
         Defendant.                                )


                                              ORDER


       In accordance with the Order transferring this case, the sentencing hearing in this case is

set for March 17, 2017 at 10:00 a.m. in Courtroom A859.

       All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least five (5) days before the sentencing hearing.

       In accordance with LCrR 32.01(c), at least seven (7) days prior to the sentencing date, the

parties shall file a APosition of the (Government or Defendant) with Respect to Sentencing

Factors,@ containing only unresolved objections to the Presentence Report. If the parties have no

objections to the Presentence Report, they shall so indicate in their APosition@ filed with the Court.

The parties shall also serve a copy of their APosition@ on the Probation Office upon its filing.

       IT IS SO ORDERED.



                                                       ____________________________________
                                                       WAVERLY D. CRENSHAW, JR.
                                                       UNITED STATES DISTRICT JUDGE




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